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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )                  4:11CR3101
                                          )
          v.                              )
                                          )
JEANNA RENEE SPRINGER,                    )       MEMORANDUM AND ORDER
                                          )
                 Defendants.              )
                                          )


    IT IS ORDERED:

    1)    The defendant’s motion to continue her change of plea hearing (filing no. 87),
          is granted.

    2)    The defendant’s plea hearing will be conducted before the undersigned
          magistrate judge on May 18, 2012 at 11:00 a.m. The defendant is ordered to
          appear at this hearing.

    3)    Based on the representations set forth in the defendant’s motion, the ends of
          justice served by continuing defendant’s plea hearing outweigh the best
          interest of the defendant and the public in a speedy trial. Accordingly, the time
          between today’s date and May 18, 2012 shall be excluded for speedy trial
          calculation purposes. 18 U.S.C. § 3161(h)(7).

    4)    No further continuances will be granted absent a hearing before the court and
          good cause shown.

    DATED this 12th day of April, 2012.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge
